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         ORDERED in the Southern District of Florida on April 19, 2024.




                                                                             Corali Lopez-Castro, Judge
                                                                             United States Bankruptcy Court
_____________________________________________________________________________


                                           UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF FLORIDA
                                                    MIAMI DIVISION
                                                   www.flsb.uscourts.gov

             In re:
                                                                         Chapter 11 Cases
             BIRD GLOBAL, INC., et al.,1
                                                                         Case No. 23-20514-CLC
                       Debtors.
                                                                         (Jointly Administered)


                            ORDER GRANTING DEBTORS’ MOTION TO (I)
                           FIX BAR DATE FOR FILING TORT CLAIMS, AND
              (II) APPROVE FORM AND MANNER OF NOTICE OF TORT CLAIMS BAR DATE

                      THE MATTER came before the Court on April 18, 2024 at 1:30 p.m. in Miami, Florida

         upon the Debtors’ Motion to (I)Fix Bar Date for Filing Tort Claims, and (II) Approve Form and

         Manner of Notice of Tort Claims Bar Date [ECF No. 540] (the “Motion”) filed by the Debtors.2

         The Court, having considered the Motion, finds that: (i) the Court has jurisdiction over this matter


         1
               The address of the Debtors is 392 Northeast 191st Street, #20388, Miami, FL 33179. The last four digits of the
               Debtors’ federal tax identification numbers are: (i) Bird Global, Inc. (3155); (ii) Bird Rides, Inc. (9939); (iii) Bird
               US Holdco, LLC (8390); (iv) Bird US Opco, LLC (6873); and (v) Skinny Labs, Inc. (8176).
         2
               All capitalized terms in this Order not defined herein shall have the meanings ascribed to them in the Motion.
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pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157;

(iii) venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; (iv) notice of the

Motion was proper and sufficient under the circumstances and no other or further notice is

necessary; (v) the relief requested in the Motion is in the best interests of the Debtors, their estates

and creditors; (vi) the Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and (vii) the Court finds that the form and

manner of giving notice of the Tort Claims Bar Date as approved herein fulfills satisfies the notice

requirements of the Bankruptcy Code, the Bankruptcy Rules, and Local Bankruptcy Rules and is

reasonably calculated under the circumstances to apprise both known and potential unknown

creditors of the establishment of the Tort Claims Bar Date and the need to file a proof of claim,

consistent with the due process rights of all parties under the standards established in Mullane v.

Central Hanover Bank & Tr. Co., 339 U.S. 306 (1950) and Tulsa Professional Collection Serv.,

Inc. v. Pope, 485 U.S. 478 (1988). Accordingly, it is

         ORDERED that:

         1.     The Motion is GRANTED.

         2.     All persons and entities holding or asserting a Tort Claim must file a proof of

claim in writing or electronically so that it is received on or before 5:00 p.m. (Prevailing

Eastern Time) on MAY 16, 2024 (the “Tort Claims Bar Date”).

         3.     The form of the notice of the Tort Claims Bar Date (the “Tort Claims Bar Date

Notice”) substantially in the form attached as Exhibit “A” to the Motion is APPROVED.

         4.     As soon as reasonably practicable after the entry of this Order (but in no event later

than three business days), the Debtors shall cause notice to be given by United States mail, first-

class postage prepaid, or by electronic means, of the Tort Claims Bar Date Notice to: (i) all


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defendants in the Injunction Proceeding; (ii) all known parties who have filed a property or

personal injury lawsuit against the Debtors or any municipality relating to the use of the Debtors’

vehicles; (iii) all known parties who submitted a claim against the Debtors or a municipality

relating to the use of the Debtors’ vehicles but for which no lawsuit has been filed; (iv) all known

persons who have submitted a notice of a potential claim to any Municipality relating to the use of

the Debtors’ vehicles; and (v) all App Claimants.

         5.    The Debtors are authorized to serve the App Claimants via email as set forth in the

Motion. Service of the Tort Claims Bar Date Notice via email is adequate and sufficient in the

circumstances of these Chapter 11 Cases, where App Claimants have not provided a physical

address to the Debtors.

         6.    The Debtors shall publish the Tort Claims Bar Date Notice once in the national

edition of The New York Times.

         7.    Pursuant to Bankruptcy Rule 3003(c)(2), all holders of Tort Claims that fail to

comply with this Order by timely filing a proof of claim in appropriate form shall (i) be forever

barred, estopped, and enjoined form asserting such claims against the Debtors, their property, their

estates (or submitting a proof of claim with respect thereto) or any person or entity that may be

released under any chapter 11 plan for the Debtors, including but not limited to, the Settling

Insurers and the Plan Settling Parties, and (ii) not treated as a creditor with respect to such claim

for the purposes of voting and distribution with respect to any chapter 11 plan that may be filed in

these cases.

         8.    A determination by any holder of a Tort Claim not to file a proof of claim shall not

preclude such holder from objecting to any plan filed by the Debtors in these Chapter 11 Cases.




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         9.    Nothing contained in this Order, the Motion, or any proof of claim or notice of the

Tort Claims Bar Date is intended to be or shall be construed as an admission of the Debtors’

liability, an admission as to the validity of any claim against the Debtors, or a waiver of the

Debtors’ or any appropriate party in interest’s rights to dispute any claim.

         10.   The Debtors and Epiq are authorized and empowered to take such steps and perform

such acts as may be necessary to implement and effectuate the terms of this Order.

         11.   The service outlined above shall constitute service on all known holders of Tort

Claims.

         12.   The Tort Claims Bar Date shall not reopen any other claims bar date

previously established by the Court for the filing of claims. For the avoidance of doubt, the

General Bar Date of February 28, 2024 is not reopened. This Order only establishes the Tort

Claims Bar Date with respect to Tort Claims.

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Submitted by:
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(Attorney Guso is directed to serve this order upon all non-registered users who have yet to appear
electronically in this case and file a conforming certificate of service.)




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